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                                                    UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                      )
                                                               )
v.                                                             )
                                                               )    Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                                         )
                                                               )
                           Defendant.                          )


            DEFENDANT PAUL J. MANAFORT, JR.’S MEMORANDUM
     IN OPPOSITION TO GOVERNMENT’S MOTION TO MODIFY THE COURT’S
              SCHEDULE FOR RULE 404(b) NOTICE AND BRIEFING

             Defendant Paul J. Manafort, Jr., by and through counsel, hereby opposes the

Government’s Motion to Modify the Court’s Schedule for Rule 404(b) Notice and

Briefing (“Government’s Motion”). (Dkt. # 155). The Government’s Motion, filed in

response to the Minute Order entered on January 17, 2018, “requests that the [Rule

404(b) evidence] notice and briefing schedules not be set until after a trial date is selected

and that notice be required no more than eight weeks prior to trial. . . .” (Dkt. # 155 at 1).

The defendant has not raised any objections to the proposed schedule and believes that

the Court’s current notice and briefing schedule for Rule 404(b) evidence is warranted

under the circumstances of this case.1

             The Court has ordered the Government to provide Rule 404(b) notice on April 6,

2018, with oppositions due on April 23, 2018, and replies due on May 4, 2018. See Jan.

17, 2018 Minute Order. The hearing for Rule 404(b) issues is set for May 23, 2018. Id.

The Office of Special Counsel complains that this schedule “is not tethered to a specific

trial date.” (Dkt. # 155 at 2). But the Court knew this when it entered the Minute Order;

																																																								
1	The	defendant	has	proposed	that	the	trial	commence	in	September	2018.	


                                                              1	
	
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in fact, the Court expressly noted that a trial date had not been set (and would not be

discussed with counsel until closer to the next status conference). See Jan. 17, 2018

Minute Order. Regardless, there is no requirement that the Rule 404(b) notice and

briefing schedule be tied to a specific trial date. See Fed. R. Evid. 404(b)(2).

             In asking the Court to alter its Rule 404(b) schedule, the Government also raises

the specter of “premature disclosure,” arguing that the evidence it wishes to introduce

may change over time. (Dkt. # 155 at 2). This is not a credible position, however. The

Office of Special Counsel has had a sizable group of prosecutors and federal agents

working on this case – and only this case – for many months now. Moreover, in response

to the defendant’s demands for discovery, the Government has produced materials that

show it has been conducting a law enforcement investigation into Mr. Manafort’s

dealings since 2014. Therefore, it is difficult to believe that the Special Counsel does not

already know what it will proffer as Rule 404(b) evidence; at a minimum, it should

certainly be able to identify such evidence by the Court’s proposed April 6, 2018, date.

Indeed, it is worth noting that the Government – not Mr. Manafort – recently asked the

Court to commence this trial on May 14, 2018.                   (Dkt. # 146 at 3).      Surely, the

Government would not have proposed a spring trial date without knowing the potential

Rule 404(b) evidence it would seek to offer in its case-in-chief.2

             Finally, the Office of Special Counsel contends that it “has not identified any

authority in this district, or another, requiring such early notice in a comparable case.”



																																																								
2	A	further	warning	–	that	of	“multiple	Rule	404(b)	notices”	–	is	posited	by	the	Government	as	well,	

but	this	assumes	that	the	Court	would	allow	such	additional	Rule	404(b)	evidence	after	the	deadline.		
Of	course,	a	party	may	always	petition	the	Court	for	relief	from	a	deadline	for	good	and	reasonable	
cause,	but	one	should	not	assume	this	to	be	the	case.	
	

                                                           2	
	
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(Dkt. # 155 at 3). That, however, begs the question: What is a “comparable case” in the

view of the Government?

        This prosecution is unique. It purportedly stems from an appointment order

issued by the Acting Attorney General that instructed the Special Counsel to focus on

“links and/or coordination between the Russian government and individuals associated

with the campaign of Donald Trump,” but there are no Russia-related charges included in

the Indictment. See Order No. 3915-2017 (May 17, 2017). Rather, the Government has

brought a case alleging a criminal conspiracy that spans more than a decade and involves

international consulting work performed years ago and halfway around the globe. The

sheer breadth of the Government’s criminal case – both temporally and geographically –

supports the Court’s current notice and briefing schedule for Rule 404(b) evidence.

Without substantial advance notice, Mr. Manafort will be unfairly prejudiced in preparing

to defend at trial whatever other evidence of alleged crimes, wrongs or acts that the

prosecution may conjure up.

        Indeed, given the Special Counsel’s access to virtually unlimited taxpayer funds

and investigative resources to use against Mr. Manafort, the Court’s schedule in this

regard is eminently reasonable. See Fed. R. Evid. 404(b). The time provided in the

Court’s current schedule is, in fact, necessary for the defendant to properly prepare and

for the Court to resolve the admissibility of any proffered Rule 404(b) evidence.3 United

States v. Watson, 409 F.3d 458, 465 (D.C. Cir. 2005) (“The courts must not treat lightly

the ‘surprise’ introduction of evidence that leaves a criminal defendant without

opportunity to prepare an effective response.”). The timing proposed by the Office of

Special Counsel overlaps with the Court’s current scheduling of other important matters,
																																																								
3	Such	evidence	is	also	routinely	challenged	under	Rule	403	of	the	Federal	Rules	of	Evidence.			


                                                   3	
	
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such as motions in limine and their subsequent briefing, and trial preparation. See Jan.

17, 2018 Minute Order. Although the Government’s Motion may not be based on

gamesmanship, the proposed timing would significantly impact the defense of this case

based on the defendant’s limited resources.

       WHEREFORE the defendant requests that the Court deny the Government’s

Motion to modify the scheduling order as it pertains to Rule 404(b) notice and briefing.



Dated: February 2, 2018                             Respectfully submitted,



                                                    ______________________________
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